                          Case 23-15289        Doc 1     Filed 07/28/23    Page 1 of 54

                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Waldon Enterprises, LLC                                                         11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Michael S. Waldon                                           49
 2800 Hambleton Road, Riva, MD 21140




 Jennifer D. Waldon                                          51
 2800 Hambleton Road, Riva, MD 21140
                                     Case
     Fill in this information to identify your 23-15289
                                               case:            Doc 1        Filed 07/28/23            Page 2 of 54
     United States Bankruptcy Court for the:

     ____________________
     District of Maryland District of (State)
                                      _________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Waldon   Enterprises, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Candles   Off Main
                                           ______________________________________________________________________________________________________
      in the last 8 years                  Annapolis   Candle
                                           ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               2003 Commerce Park Drive, Suite A and B                  _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Annapolis                   MD      21401
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Anne Arundel County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                annapoliscandle.com, candlesoffmain.com
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                                        Case 23-15289           Doc 1        Filed 07/28/23                Page 3 of 54

                Waldon Enterprises, LLC
Debtor          _______________________________________________________                          Case number (if known)_____________________________________
                Name


                                            A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            
                                            ✔ None of the above



                                            B. Check all that apply:
                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                               See http://www.naics.com/search/ .
                                               339999
                                               _________

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the                 Chapter 7
      debtor filing?
                                             Chapter 9
                                            
                                            ✔ Chapter 11. Check all that apply:

                                                          
                                                          ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                         recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                         tax return or if any of these documents do not exist, follow the procedure in
                                                                 11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                       
                                                             ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                           Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                             of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 1116(1)(B).

                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                 in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             Chapter 12
9.    Were prior bankruptcy cases            No
      filed by or against the debtor
      within the last 8 years?               Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                 Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                          MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                  Case 23-15289                Doc 1        Filed 07/28/23            Page 4 of 54

               Waldon Enterprises, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000
                                           ✔
                                                                             $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
                                  Case 23-15289                 Doc 1            Filed 07/28/23        Page 5 of 54

             Waldon Enterprises, LLC
Debtor       _______________________________________________________                             Case number (if known)_____________________________________
             Name



                                          $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million
                                          ✔
                                                                               $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            07/28/2023
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ Michael Waldon
                                              _____________________________________________               Michael Waldon
                                                                                                         _______________________________________________
                                              Signature of authorized representative of debtor           Printed name

                                                     Managing Member
                                              Title _________________________________________




18. Signature of attorney
                                          /s/ Alon Nager
                                              _____________________________________________              Date         07/28/2023
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              Alon Nager
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Nager Law Group, LLC
                                              _________________________________________________________________________________________________
                                              Firm name
                                              10015 Old Columbia Road STE B215
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Columbia
                                              ____________________________________________________            MD             21046
                                                                                                             ____________ ______________________________
                                              City                                                           State        ZIP Code

                                              443-701-9669
                                              ____________________________________                              alon@nagerlaw.com
                                                                                                             __________________________________________
                                              Contact phone                                                  Email address



                                              28551                                                           MD
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                                                    Case 23-15289                             Doc 1               Filed 07/28/23                         Page 6 of 54


 Fill in this information to identify the case:

                Waldon Enterprises, LLC
  Debtor name _________________________________________________________________

                                          District of Maryland
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         144,007.36
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           144,007.36
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          228,924.30
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          684,007.08



4. Total liabilities ...........................................................................................................................................................................          912,931.38
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
                                          Case 23-15289            Doc 1     Filed 07/28/23             Page 7 of 54

      Fill in this information to identify the case:

                    Waldon Enterprises, LLC
      Debtor name __________________________________________________________________

                                              District of Maryland
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                         Check if this is an
      Case number (If known):    _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code         and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                             professional        unliquidated, total claim amount and deduction for value of
                                                                             services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                  Total claim, if   Deduction for      Unsecured
                                                                                                                  partially         value of           claim
                                                                                                                  secured           collateral or
                                                                                                                                    setoff
     Ravi and Heidi Waldon
1    1641 Eton Way
     Annapolis, MD, 21401
                                                                                                                                                      112,500.00


     NEST Fragrances                                                       Suppliers or Vendors
2    477 Madison Ave, 24th Floor
     New York, NY, 10022
                                                                                                                                                      97,939.95


     CFT Clear Finance Technology Corp.                                    Unsecured Loan
3    1200-33 Yonge Street                                                  Repayments
     Toronto, Ontario, M5E1G4
                                                                                                                                                      78,000.00


     American Express                                                      Credit Card Debt
4    P.O. Box 981535
     El Paso, TX, 79998-1535                                                                                                                          67,182.63


     Paypal Capital                                                        Unsecured Loan
5    c/o Weltman, Weinberg & Reis, Co.                                     Repayments
     5000 Bradenton Avenue, Suite 100                                                                                                                 52,000.00
     Dublin, OH, 43017

     Quickbooks Capital                                                    Unsecured Loan
6    c/o Executive Financial Enterprises, Inc.                             Repayments
     1465 Tamarind Ave, Box 680                                                                                                                       43,725.01
     Los Angeles, CA, 90028


     Forward Financing                                                     Unsecured Loan
7    53 State St., 20th Floor                                              Repayments
     Boston, MA, 02109                                                                                                                                42,021.37


     Forward Financing                                                     Unsecured Loan
8    53 State St., 20th Floor                                              Repayments
     Boston, MA, 02109                                                                                                                                37,272.94




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 1
                                         Case 23-15289          Doc 1      Filed 07/28/23             Page 8 of 54

                   Waldon Enterprises, LLC
    Debtor        _______________________________________________________                       Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number,     Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of        (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact            debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                           professional        unliquidated, total claim amount and deduction for value of
                                                                           services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                Total claim, if   Deduction for      Unsecured
                                                                                                                partially         value of           claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
     Creative Co-op, Inc.                                                Monies Loaned /
9    P.O. Box 751500                                                     Advanced
     Memphis, TN, 38175                                                                                                                             29,403.16


     UPS                                                                 Shipping/Supplies
10 c/o Executive Financial Enterprises, Inc.
     1465 Tamarind Ave, Box 680                                                                                                                     28,893.00
     Hollywood, CA, 90028


     Fundbox                                                             Monies Loaned /
11 5760 Legacy Drive                                                     Advanced
     Suite B3-535                                                                                                                                   28,053.00
     Plano, TX, 75024

     Illume                                                              Unsecured Loan
12 PO Box 74008740                                                       Repayments
     Chicago, IL, 60674-8740                                                                                                                        28,000.00



     Maison Berger                                                       Suppliers or Vendors
13 Lampe Berger USA, Inc
     168 Fifth Avenue, Suite #301                                                                                                                   11,532.72
     New York, NY, 10010

     LAFCO NY                                                            Suppliers or Vendors
14 23 E. 4th St., 7th Floor
     New York, NY, 10003                                                                                                                            11,045.00


     Faultless DBA Trapp Candles                                         Suppliers or Vendors
15 1009 W. 8th St.
     Kansas City, MO, 64101
                                                                                                                                                    10,013.00


     Desirepath Mississippi, LLC                                         Suppliers or Vendors
16 DBA Curio
     629 Ninth Street SE                                                                                                                            6,425.30
     Minneapolis, MN, 55414

     Comptroller of Maryland                                             Taxes & Other
17 Compliance Division, Room 409                                         Government Units
     301 W. Preston St.
     Baltimore, MD, 21201                                                                                                                           0.00



18




19




20




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 2
                                        Case 23-15289         Doc 1        Filed 07/28/23           Page 9 of 54
  Fill in this information to identify the case:

               Waldon Enterprises, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of Maryland
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    200.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          First Citizens Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              4
                                                                                               ____  9
                                                                                                    ____ 8
                                                                                                         ____ 9
                                                                                                              ____               $______________________
                                                                                                                                   20,207.70
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 20,407.70
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
    ✔


                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Commercial Lease Security Deposit - ACP East, LLC
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    8,461.45
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                   Schedule A/B: Assets  Real and Personal Property                                   page 1
                                     Case 23-15289              Doc 1         Filed 07/28/23            Page 10 of 54
Debtor           Waldon Enterprises, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                     8,461.45
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     10,203.90
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   10,203.90
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         1,900.00
                                   ___________________________    1,900.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 10,203.90
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                                    Case 23-15289                 Doc 1       Filed 07/28/23             Page 11 of 54
                Waldon Enterprises, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                              Date of the last         Net book value of        Valuation method used        Current value of
                                                       physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                (Where available)
19. Raw materials
                                                              07/25/2023                                   Debtor                      28,550.00
  Wholesale Inventory
   ________________________________________                  ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

20. Work in progress
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                                           Debtor                      13,123.90
  Retail Inventory                                   07/25/2023
                                                    ______________
    ________________________________________                                    $__________________       ______________________     $______________________
                                                             MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                 ______________                                                          $______________________
                                                             MM / DD / YYYY
                                                                                $__________________       ______________________


23. Total of Part 5                                                                                                                    94,134.31
                                                                                                                                     $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
      No
     
     ✔ Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
      ✔


      Yes. Book value _______________              Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of        Valuation method used        Current value of debtor’s
                                                                                debtor's interest        for current value            interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________         ____________________     $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                     page 3
                                    Case 23-15289                Doc 1        Filed 07/28/23          Page 12 of 54
                Waldon Enterprises, LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Pallet Racking, Tables, Melters, Computers
                                                                                  $________________      Debtor
                                                                                                        ____________________        8,000.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     8,000.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
                                   Case 23-15289              Doc 1      Filed 07/28/23           Page 13 of 54
                  Waldon Enterprises, LLC
 Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                      Net book value of      Valuation method used        Current value of
                                                                             debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                             (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2 Forklifts                                                                                 Debtor                      2,800.00
    47.1___________________________________________________________          $________________       ____________________       $______________________

    47.2___________________________________________________________          $________________       ____________________       $______________________

    47.3___________________________________________________________          $________________       ____________________       $______________________

    47.4___________________________________________________________          $________________       ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________           $________________       ____________________       $______________________

    48.2__________________________________________________________           $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________           $________________       ____________________       $______________________

    49.2__________________________________________________________           $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    UV InkJet Printer/Rev 360 - Leased (value = approx. $70,000 and little
    to no equity)                                                                                     Debtor                      Unknown
    ______________________________________________________________           $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                              2,800.00
                                                                                                                                $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
     
     ✔ Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔ No
      Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                  page 5
                                       Case 23-15289
                   Waldon Enterprises, LLC
                                                                    Doc 1       Filed 07/28/23            Page 14 of 54
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       2003 Commerce Park Drive, Suite A and B                 Leasehold
55.1
       Annapolis, MD 21401
                                                                                                           n/a                           Unknown
                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔ No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔ No
        Yes
Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
                                                                                                                                          Unknown
    annapoliscandle.com; candlesoffmain.com
    ______________________________________________________________                   $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations                                                                                  Unknown
    Email and Mailing Lists
    ______________________________________________________________                   $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     0.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
                                        Case 23-15289          Doc 1         Filed 07/28/23         Page 15 of 54
Debtor            Waldon Enterprises, LLC
                 _______________________________________________________                      Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔ No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔ No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
     Yes. Fill in the information below.
      ✔

                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                     _______________ –    __________________________         =   $_____________________
     ______________________________________________________
                                                                     Total face amount    doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    Goodwill
   ____________________________________________________________                                                                     Unknown
                                                                                                                                  $_____________________
   ____________________________________________________________                                                                   $_____________________
78. Total of Part 11.
                                                                                                                                    0.00
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔ No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 7
                                           Case 23-15289                     Doc 1            Filed 07/28/23                  Page 16 of 54
                   Waldon Enterprises, LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         20,407.70
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         8,461.45
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         10,203.90
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         94,134.31
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         8,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         2,800.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         144,007.36                        0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  144,007.36                                                                                     144,007.36
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
                                           Case 23-15289                 Doc 1           Filed 07/28/23           Page 17 of 54
  Fill in this information to identify the case:
              Waldon Enterprises, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of Maryland

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     GFE Holdings                                                Cash in Debtor's possession., Accounts
      __________________________________________
                                                                 Receivable, annapoliscandle.com;                                7,382.71
                                                                                                                               $__________________          144,007.36
                                                                                                                                                          $_________________

     Creditor’s mailing address
                                                                 candlesoffmain.com, Email and Mailing
                                                                 Lists, Commercial Lease Security Deposit -
      32 Leveroni Court
      ________________________________________________________   ACP East, LLC, Pallet Racking, Tables,
      Novato, CA 94949
      ________________________________________________________   Melters, Computers, 2 Forklifts, Goodwill,
                                                                 Describe
                                                                 Retail    the lien
                                                                         Inventory,  Wholesale Inventory,
    Creditor’s email address, if known
                                                                 UCC    Lien
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            06/22/2022
                                     __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   5650
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                 No
    same property?                                               
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     No
                                                                 As of the petition filing date, the claim is:
    ✔
       Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
    Truist Bank, 1st; ODK Capital, LLC,                          
                                                                 ✔ Contingent
    2nd; Ouiby, Inc. dba Kickfurther, 3rd;                       
                                                                 ✔ Unliquidated
    Square Financial Services, Inc., 4th;                        
                                                                 ✔ Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     GFE Holdings
                                                                 Cash in Debtor's possession., Accounts                        $__________________
                                                                                                                                36,945.19                 $_________________
                                                                                                                                                           144,007.36
      __________________________________________                 Receivable, annapoliscandle.com;
     Creditor’s mailing address                                  candlesoffmain.com, Email and Mailing
      32 Leveroni Court
      ________________________________________________________   Lists, Commercial Lease Security Deposit -
      Novato, CA 94949
      ________________________________________________________   ACP East, LLC, Pallet Racking, Tables,
                                                                 Melters, Computers, 2 Forklifts, Goodwill,
    Creditor’s email address, if known
                                                                 Retail Inventory, Wholesale Inventory,
      _________________________________________                  Wholesale Inventory
                                                                 Describe the lien
                             06/22/2022
    Date debt was incurred __________________
    Last 4 digits of account                                      UCC Lien
                                                                  _________________________________________________
    number                   5396
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                  No
           priority?
                                                                 
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 ✔ Contingent
          Yes. The relative priority of creditors is            
                                                                 ✔ Unliquidated
                                    2.1
               specified on lines _____                          
                                                                 ✔ Disputed


 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  228,924.30
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        4
                                                                                                                                                            page 1 of ___
                   Waldon Enterprises, LLC
                                             Case 23-15289               Doc 1           Filed 07/28/23           Page 18 of 54
  Debtor           _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     ODK Capital, LLC
                                                               Cash in Debtor's possession., Accounts
      __________________________________________               Receivable, annapoliscandle.com;                                 69,000.00
                                                                                                                               $__________________      144,007.36
                                                                                                                                                       $_________________
     Creditor’s mailing address                                candlesoffmain.com, Email and Mailing
                                                               Lists, Commercial Lease Security Deposit -
      c/o Aubrey Thrasher, LLC
      ________________________________________________________
                                                               ACP East, LLC, Pallet Racking, Tables,
      12 Powder Springs Street, Suite 240, Marietta, GA 30064
      ________________________________________________________
                                                               Melters, Computers, 2 Forklifts, Goodwill,
                                                               Retail Inventory, Wholesale Inventory,
     Creditor’s email address, if known                        Wholesale Inventory
      _________________________________________



     Date debt was incurred           __________________         Describe the lien
     Last 4 digits of account                                     Agreement you made, UCC Lien
                                                                  __________________________________________________
     number                   _________________
                              6736
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                          No
            No. Specify each creditor, including this           
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ■
             Yes. The relative priority of creditors is           Unliquidated
                                      2.1
                 specified on lines _____                         Disputed

2.__
  4 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Ouiby, Inc. dba Kickfurther
                                                                 Cash in Debtor's possession., Accounts
                                                                 Receivable, annapoliscandle.com;
      __________________________________________                                                                                17,828.00
                                                                                                                               $__________________       144,007.36
                                                                                                                                                       $_________________
                                                                 candlesoffmain.com, Email and Mailing
     Creditor’s mailing address                                  Lists, Commercial Lease Security Deposit -
                                                                 ACP East, LLC, Pallet Racking, Tables,
       24th Floor
      ________________________________________________________   Melters, Computers, 2 Forklifts, Goodwill,
       Seneca 1 Tower, Buffalo, NY 14202
      ________________________________________________________   Retail Inventory, Wholesale Inventory,
                                                                 Wholesale Inventory
     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred            05/05/2021
                                      __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   4499
                              _________________                   UCC LIen
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.1                          Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                                2 of ___
                                                                                                                                                                      4
                   Waldon Enterprises, LLC
                                             Case 23-15289               Doc 1           Filed 07/28/23           Page 19 of 54
  Debtor           _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                               Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Square Financial Services, Inc.
                                                                 Cash in Debtor's possession., Accounts
      __________________________________________                 Receivable, annapoliscandle.com;                               47,320.00
                                                                                                                               $__________________      144,007.36
                                                                                                                                                       $_________________
     Creditor’s mailing address                                  candlesoffmain.com, Email and Mailing
                                                                 Lists, Commercial Lease Security Deposit -
      31 East Millrock Drive
      ________________________________________________________
                                                                 ACP East, LLC, Pallet Racking, Tables,
      Suite 160, Salt Lake City, UT 84121
      ________________________________________________________
                                                                 Melters, Computers, 2 Forklifts, Goodwill,
                                                                 Retail Inventory, Wholesale Inventory,
     Creditor’s email address, if known                          Wholesale Inventory
      _________________________________________



     Date debt was incurred           11/24/2021
                                      __________________         Describe the lien
     Last 4 digits of account                                     UCC Lien
                                                                  __________________________________________________
     number                   _________________
                              4H32
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔ No
     same property?                                               Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ■
             Yes. The relative priority of creditors is           Unliquidated
                                      2.1
                 specified on lines _____                         Disputed

2.__
  6 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Truist Bank
                                                                 Cash in Debtor's possession., Accounts
                                                                 Receivable, annapoliscandle.com;
      __________________________________________                                                                                50,448.40
                                                                                                                               $__________________       144,007.36
                                                                                                                                                       $_________________
                                                                 candlesoffmain.com, Email and Mailing
     Creditor’s mailing address                                  Lists, Commercial Lease Security Deposit -
                                                                 ACP East, LLC, Pallet Racking, Tables,
       c/o Duane Clark, Officer, Asset Manager I
      ________________________________________________________   Melters, Computers, 2 Forklifts, Goodwill,
       7455 Chancellor Drive, Orlando, FL 32809
      ________________________________________________________   Retail Inventory, Wholesale Inventory,
                                                                 Wholesale Inventory
     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred            07/1/2018
                                      __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   1983
                              _________________                   Agreement you made, UCC Lien
                                                                  __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                              
                                                                 ✔ No

      No                                                         Yes
     
     ✔ Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                          No
            No. Specify each creditor, including this           
                                                                 ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                  Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.1                          Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                                3 of ___
                                                                                                                                                                      4
                                   Case 23-15289               Doc 1         Filed 07/28/23            Page 20 of 54
Debtor
               Waldon Enterprises, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     ODK Capital, LLC
     Suite 200
     4700 W. Daybreak Parkway                                                                                          3
                                                                                                               Line 2. __                    _________________
     South Jordan, UT, 84009


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      4 of ___
                                                                                                                                                           4
                                      Case 23-15289             Doc 1          Filed 07/28/23         Page 21 of 54
   Fill in this information to identify the case:

   Debtor
                    Waldon Enterprises, LLC
                    __________________________________________________________________

                                           District of Maryland
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           0.00
    Comptroller of Maryland                                                                                                         $_________________
                                                            Check all that apply.
    Compliance Division, Room 409                            Contingent
    301 W. Preston St.                                       Unliquidated
    Baltimore, MD, 21201                                     Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      2673
                _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                    $_________________
                                                            Check all that apply.
    Centralized Insolvency
    31 Hopkins Place, Room 1150                              Contingent
    Baltimore, MD, 21201                                     Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    _________________________________

    Last 4 digits of account
    number      2673
                _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________   $_________________
                                                            Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                             No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)



  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               7
                                                                                                                                         page 1 of ___
                                   Case 23-15289
               Waldon Enterprises, LLC                         Doc 1          Filed 07/28/23              Page 22 of 54
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    American Express                                                                                                           67,182.63
                                                                                                                             $________________________________
                                                                            Contingent
    P.O. Box 981535                                                         Unliquidated
    El Paso, TX, 79998-1535                                                 Disputed
                                                                                                   Credit Card Debt
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            2003
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    CFT Clear Finance Technology Corp.                                     Check all that apply.                               78,000.00
                                                                                                                             $________________________________
    1200-33 Yonge Street                                                    Contingent
    Toronto, Ontario, M5E1G4                                                Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Unsecured Loan Repayments


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            0008
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Creative Co-op, Inc.                                                                                                       29,403.16
                                                                                                                             $________________________________
                                                                            Contingent
    P.O. Box 751500                                                         Unliquidated
    Memphis, TN, 38175                                                      Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            4394
                                               __________________          
                                                                           ✔ No

                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Desirepath Mississippi, LLC                                            Check all that apply.
                                                                                                                               6,425.30
                                                                                                                             $________________________________
    DBA Curio                                                               Contingent
    629 Ninth Street SE                                                     Unliquidated
    Minneapolis, MN, 55414                                                  Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            1/26/2023 - 3/22/2023
                                               ___________________ Is the claim subject to offset?

    Last 4 digits of account number            2586
                                               __________________          
                                                                           ✔
                                                                             No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Faultless DBA Trapp Candles                                                                                                10,013.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    1009 W. 8th St.                                                         Contingent
    Kansas City, MO, 64101                                                  Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            5865
                                               __________________          
                                                                           ✔ No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Forward Financing                                                                                                          42,021.37
                                                                                                                             $________________________________
                                                                           Check all that apply.
    53 State St., 20th Floor                                                Contingent
    Boston, MA, 02109                                                       Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:    Unsecured Loan Repayments

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                             No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    7
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                  Waldon Enterprises, LLC                   Doc 1       Filed 07/28/23             Page 23 of 54
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             37,272.94
                                                                                                                     $________________________________
 Forward Financing                                                    Contingent
 53 State St., 20th Floor                                             Unliquidated
 Boston, MA, 02109                                                    Disputed
                                                                     Basis for the claim: Unsecured Loan Repayments



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       28,053.00
                                                                                                                     $________________________________
 Fundbox
 5760 Legacy Drive                                                    Contingent
 Suite B3-535                                                         Unliquidated
 Plano, TX, 75024                                                     Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Illume                                                              Check all that apply.
                                                                                                                      28,000.00
                                                                                                                     $________________________________
 PO Box 74008740                                                      Contingent
 Chicago, IL, 60674-8740                                              Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Unsecured Loan Repayments



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              4394                   
                                                                     ✔
                                                                       No
                                                                      Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 K Hall Studios                                                      Check all that apply.
 Accounting Department                                                Contingent
 715 Hanley Industrial Court                                          Unliquidated
 Saint Louis, MO, 63144                                               Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LAFCO NY                                                            Check all that apply.
                                                                                                                       11,045.00
                                                                                                                     $________________________________
 23 E. 4th St., 7th Floor                                             Contingent
 New York, NY, 10003                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________
                                              5699                    Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    7
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  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             11,532.72
                                                                                                                     $________________________________
 Maison Berger                                                        Contingent
 Lampe Berger USA, Inc                                                Unliquidated
 168 Fifth Avenue, Suite #301                                         Disputed
 New York, NY, 10010
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       97,939.95
                                                                                                                     $________________________________
 NEST Fragrances
 477 Madison Ave, 24th Floor                                          Contingent
 New York, NY, 10022                                                  Unliquidated
                                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       N401
                                              ___________________
                                                                     
                                                                     ✔
                                                                       No
                                                                      Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Paypal Capital                                                      Check all that apply.
                                                                                                                      52,000.00
                                                                                                                     $________________________________
 c/o Weltman, Weinberg & Reis, Co.                                    Contingent
 5000 Bradenton Avenue, Suite 100                                     Unliquidated
 Dublin, OH, 43017                                                    Disputed
                                                                     Basis for the claim: Unsecured Loan Repayments



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3844                   
                                                                     ✔
                                                                       No
                                                                      Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      43,725.01
                                                                                                                     $________________________________
 Quickbooks Capital                                                  Check all that apply.
 c/o Executive Financial Enterprises, Inc.                            Contingent
 1465 Tamarind Ave, Box 680                                           Unliquidated
 Los Angeles, CA, 90028                                               Disputed
                                                                     Basis for the claim: Unsecured Loan Repayments



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              8821                
                                                                  ✔
                                                                    No
        Last 4 digits of account number       ___________________  Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Ravi and Heidi Waldon                                               Check all that apply.
                                                                                                                       112,500.00
                                                                                                                     $________________________________
 1641 Eton Way                                                        Contingent
 Annapolis, MD, 21401                                                 Unliquidated
                                                                      Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                       No
        Last 4 digits of account number       ___________________     Yes



       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page __    7
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                Waldon Enterprises, LLC                   Doc 1        Filed 07/28/23             Page 25 of 54
  Debtor        _______________________________________________________                     Case number (if known)_____________________________________
                Name



Pa rt 2 :   Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             28,893.00
                                                                                                                    $________________________________
 UPS                                                                 Contingent
 c/o Executive Financial Enterprises, Inc.                           Unliquidated
 1465 Tamarind Ave, Box 680                                          Disputed
 Hollywood, CA, 90028
                                                                    Basis for the claim: Shipping/Supplies



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    ✔
                                                                      No
                                                                     Yes
     Last 4 digits of account number         V4A2
                                             ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                     No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________      No
                                                                     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                     Contingent
                                                                     Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                     No
     Last 4 digits of account number         ___________________     Yes



    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page __    7
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                                         Case 23-15289
                    Waldon Enterprises, LLC                          Doc 1        Filed 07/28/23            Page 26 of 54
     Debtor         _______________________________________________________                            Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          American Express
4.1.      P.O. Box 1270                                                                             3.1
                                                                                               Line _____
          Newark, NJ, 07101-1270                                                                                                                ________________
                                                                                                    Not listed. Explain:


          Intuit Financing Inc.
4.2.
          2700 Coast Avenue                                                                    Line 3.15
                                                                                                    _____
          Mountain View, CA, 94043                                                                Not listed. Explain                          ________________



          Nest New York LLC                                                                         3.13
4.3.                                                                                           Line _____
          PO Box 411008
                                                                                                                                                 N401
                                                                                                                                                ________________
          Boston, MA, 02241-1008                                                                  Not listed. Explain

          The Receivable Management Services, LLC
4.4.      P.O. Box 19646                                                                            3.17
                                                                                               Line _____
          Minneapolis, MN, 55419
                                                                                                  Not listed. Explain                           V4A2
                                                                                                                                                ________________


          Weltman, Weinberg & Reis Co., LPA
41.       5000 Bradenton Avenue, Suite 100                                                          3.15
                                                                                               Line _____
          Dublin, OH, 43017
                                                                                                  Not listed. Explain                           1360
                                                                                                                                                ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    7
                                                                                                                                                                6 of ___
                                 Case 23-15289
               Waldon Enterprises, LLC                    Doc 1       Filed 07/28/23           Page 27 of 54
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       684,007.08
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          684,007.08
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    7
                                                                                                                                                7 of ___
                                    Case 23-15289              Doc 1        Filed 07/28/23            Page 28 of 54

 Fill in this information to identify the case:

             Waldon Enterprises, LLC
 Debtor name __________________________________________________________________

                                         District of Maryland
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       11
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease
                                       Commercial Lease                                 ACP East, LLC
         State what the contract or    Lessee                                           c/o The RMR Group
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                        540 Gaither Road, Suite 150
                                                                                        Rockville, MD, 20850
         State the term remaining
                                       Present - December, 2026
         List the contract number of
         any government contract

                                       UV InkJet Printer/Rev 360                        Ascentium Capital LLC Dept #3059
         State what the contract or    Lessee                                           POB 11407
 2.2     lease is for and the nature
         of the debtor’s interest                                                       Birmingham, AL, 35246-3059

         State the term remaining      47 months to own
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
                                    Case 23-15289               Doc 1        Filed 07/28/23             Page 29 of 54
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Waldon Enterprises, LLC

                                         District of Maryland
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:
                                     2800 Hambleton Road
 2.1 Jennifer D. Waldon                                                                                  American    Express
                                                                                                          _____________________               D
                                     Riva, MD 21140                                                                                          ✔ E/F
                                                                                                                                             
                                                                                                                                              G




 2.2                                 2800 Hambleton Road
                                     Riva, MD 21140                                                      Truist Bank
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Michael Waldon                                                                                                                         G




 2.3                                 2800 Hambleton Road
                                     Riva, MD 21140                                                       Truist Bank
                                                                                                           _____________________             ✔ D
                                                                                                                                             
                                                                                                                                              E/F
       Jennifer Waldon                                                                                                                        G



 2.4
                                     2800 Hambleton Road
                                     Riva, MD 21140                                                      Forward   Financing
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Michael Waldon                                                                                                                         G



 2.5                                 2800 Hambleton Road
                                     Riva, MD 21140                                                      Forward   Financing
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Michael Waldon                                                                                                                         G




 2.6                                 2800 Hambleton Road
                                                                                                         GFE   Holdings
                                                                                                          _____________________              ✔ D
                                                                                                                                             
                                     Riva, MD 21140
                                                                                                                                              E/F
       Michael Waldon                                                                                                                         G




Official Form 206H                                               Schedule H: Codebtors                                                                    2
                                                                                                                                               page 1 of ___
                                 Case 23-15289            Doc 1      Filed 07/28/23        Page 30 of 54
               Waldon Enterprises, LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Michael Waldon         2800 Hambleton Road                                         GFE Holdings
                                                                                                                              ✔ D
                                                                                                                              
                                 Riva, MD 21140                                                                                E/F
                                                                                                                               G




   8
 2.___    Jennifer Waldon        2800 Hambleton Road                                         ODK Capital, LLC
                                                                                                                              ✔ D
                                                                                                                              
                                 Riva, MD 21140                                                                                E/F
                                                                                                                               G




   9
 2.___    Michael Waldon         2800 Hambleton Road                                         Quickbooks Capital                D
                                 Riva, MD 21140                                                                               ✔ E/F
                                                                                                                              
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 Official Form 206H                                     Schedule H: Codebtors                                                    page ___
                                                                                                                                       2 of ___
                                                                                                                                             2
                                    Case 23-15289             Doc 1         Filed 07/28/23                Page 31 of 54

 Fill in this information to identify the case and this filing:

              Waldon Enterprises, LLC
 Debtor Name __________________________________________________________________

                                         District of Maryland
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔ Schedule H: Codebtors (Official Form 206H)

         
         ✔ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

         
         ✔ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    07/28/2023
        Executed on ______________                          /s/ Michael Waldon
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Michael Waldon
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                   Case 23-15289                   Doc 1      Filed 07/28/23           Page 32 of 54


Fill in this information to identify the case:
             Waldon Enterprises, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: District of Maryland   District of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                     Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                  Gross revenue
            may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                              871,000.00
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                       1,984,232.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            2,605,166.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                              Description of sources of revenue   Gross revenue from each
                                                                                                                                  source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________              to     Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________          to     ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________          to     ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
                                     Case 23-15289           Doc 1         Filed 07/28/23             Page 33 of 54

                Waldon Enterprises, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
             LAFCO NY
            __________________________________________                        $_________________
                                                                               20,594.85                         Secured debt
            Creditor’s name
             23 E. 4th St., 7th Floor
                                                                                                                 Unsecured loan repayments
             New York, NY 10003                                                                             
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

             NEST Fragrances                                                  $_________________
                                                                               20,257.95                         Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments
             477 Madison Ave, 24th Floor
             New York, NY 10022                                                                             
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
                                   Case 23-15289               Doc 1        Filed 07/28/23              Page 34 of 54

                 Waldon Enterprises, LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                       Pending
                                                                                                                                                On appeal
             Case number                                                                                                                        Concluded

             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
                                     Case 23-15289               Doc 1        Filed 07/28/23              Page 35 of 54

                 Waldon Enterprises, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
      None
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value
                                                                 Charitable Donations
            Anne Arundel County Food Bank                                                                                    12/2022              7,000.00
     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name
            120 Marbury Drive
            Crownsville, MD 21032
                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             N/A
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
                                     Case 23-15289           Doc 1        Filed 07/28/23               Page 36 of 54

               Waldon Enterprises, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

           Nager Law Group, LLC
           __________________________________________         Retainer
   11.1.                                                                                                                 9/2/2022; 10/2/2022;$_________
                                                                                                                                              11/2/2022;
                                                                                                                         ______________        15,000.00 11/27/2022; 7
           Address

           10015 Old Columbia Road
           Suite B215
           Columbia, MD 21046




           Email or website address
           alon@nagerlaw.com
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
                                    Case 23-15289             Doc 1         Filed 07/28/23            Page 37 of 54

               Waldon Enterprises, LLC
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔ None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.   __________________________________________                                                                     ________________     $_________

           Address




           Relationship to debtor

           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
           Address                                                                                              Dates of occupancy


   14.1.   2444F Solomons Island Road                                                                          From        5/5/2015
                                                                                                                          ____________       To   11/1/2021
                                                                                                                                                  ____________
           Annapolis, MD 21401




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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               Waldon Enterprises, LLC
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.   ________________________________________                                                                                      ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper
                                                             Nature of the business operation, including type of services the            If debtor provides meals
           Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

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Debtor        Waldon Enterprises, LLC
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

      None
           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   Truist Financial
           ______________________________________               2497
                                                           XXXX–__________                 
                                                                                           ✔ Checking                  08/31/2022
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
           Name
           214 N. Tryon St.
                                                                                            Savings
           Charlotte, NC 28202                                                              Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




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              Waldon Enterprises, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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               Waldon Enterprises, LLC
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Waldon Enterprises, LLC
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              Strategic Tax Resolution                                                                      From 09/01/2022
                                                                                                                 _______
   26a.1.     __________________________________________________________________________________
              Name
              200 E. Joppa Rd., #103, Towson, MD 21286                                                      To _______




              Name and address                                                                              Dates of service

              Annapolis Accounting Services                                                                 From _______
   26a.2.     __________________________________________________________________________________
              Name
              2014 Renard Court, Suite H, Annapolis, MD 21401                                                  08/31/2022
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
             None
                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    Strategic Tax Resolution
                   ______________________________________________________________________________
                   Name
                    200 E. Joppa Rd., #103, Towson, MD 21286




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                    Waldon Enterprises, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
      No
     
     ✔ Yes. Give the details about the two most recent inventories.




               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory

              Michael Waldon
              ______________________________________________________________________         12/31/2022
                                                                                               _______        93,427.00
                                                                                                             $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Michael Waldon
               ______________________________________________________________________
              Name
               2003 Commerce Park Drive
               Annapolis, MD 21401




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              Waldon Enterprises, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of        The dollar amount and basis (cost, market, or
                                                                                              inventory      other basis) of each inventory
           Michael Waldon
           ______________________________________________________________________           12/31/2021
                                                                                              _______         68,050.00
                                                                                                             $___________________

           Name and address of the person who has possession of inventory records


   27.2.   Michael Waldon
           ______________________________________________________________________
           Name
           2003 Commerce Park Drive
           Annapolis, MD 21401



 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest    % of interest, if any
 Michael S. Waldon                          2800 Hambleton Road, Riva, MD 21140                      Managing Member                        49


 Jennifer D. Waldon                         2800 Hambleton Road, Riva, MD 21140                                                             51




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                               Position and nature of any   Period during which position
                                               Address                                                interest                     or interest was held


                                                                                                                                     _________ To _________


                                                                                                                                     _________ To _________


                                                                                                                                     _________ To _________


                                                                                                                                     _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
      No
     
     ✔ Yes. Identify below.
                                                                                     Amount of money or description     Dates               Reason for providing
           Name and address of recipient                                             and value of property                                  the value

   30.1.   Michael and Jennifer Waldon                                                                                                     Owner Draws one
           ______________________________________________________________             63,000.00
                                                                                      _________________________         _____________
           Name                                                                                                                            year pre-petition
           2800 Hambleton Road
           Riva, MD 21140                                                                                               _____________


                                                                                                                        _____________

           Relationship to debtor                                                                                       _____________
           Members
           ______________________________________________________________                                               _____________
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                Waldon Enterprises, LLC
Debtor          _______________________________________________________                            Case number (if known)_____________________________________
                Name




             Name and address of recipient
                                                                                           __________________________     _____________

   30.2      ______________________________________________________________
             Name                                                                                                         _____________

                                                                                                                          _____________



                                                                                                                          _____________


             Relationship to debtor                                                                                       _____________

             ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔ No

      Yes. Identify below.
             Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                         corporation

             ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔ No

      Yes. Identify below.

             Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                             EIN: ____________________________



 Part 14:           Signature and Declaration


            WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
            connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
            18 U.S.C. §§ 152, 1341, 1519, and 3571.

            I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
            is true and correct.

            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on      07/28/2023
                             _________________
                              MM / DD / YYYY



            /s/ Michael Waldon
            ___________________________________________________________                               Michael Waldon
                                                                                         Printed name _________________________________________________
            Signature of individual signing on behalf of the debtor

                                                Managing Member
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
          No
         
         ✔ Yes




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               Waldon Enterprises, LLC
 Debtor Name                                                                        Case number (if known)



                                             Continuation Sheet for Official Form 207

3) Certain payments or transfers to creditors within 90 days before filing this case

Square Financial                         $8,405.25                               Secured debt
Services, Inc., 31 East
Millrock Drive Suite 160,
 Salt Lake City, UT 84121

Faultless DBA Trapp                      $8,835.30                               Suppliers or vendors
Candles, 1009 W. 8th St.,
 Kansas City, MO 64101

K Hall Studios,                          $7,676.70                               Suppliers or vendors
Accounting Department
715 Hanley Industrial
Court, Saint Louis, MO
63144

Fundbox, 5760 Legacy                     $17,135.00                              Monies loaned / advanced
Drive Suite B3-535,
Plano, TX 75024

GFE Holdings, 32                         $24,600.00                              Secured debt
Leveroni Court, Novato,
CA 94949




  Official Form 207                         Statement of Financial Affairs for Non-Individuals
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                             United States Bankruptcy Court
                             District of Maryland




         Waldon Enterprises, LLC
In re:                                                        Case No.

                                                              Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              07/28/2023                        /s/ Michael Waldon
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Managing Member
                                                Position or relationship to debtor
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ACP East, LLC
c/o The RMR Group
540 Gaither Road, Suite 150
Rockville, MD 20850


American Express
P.O. Box 981535
El Paso, TX 79998-1535


American Express
P.O. Box 1270
Newark, NJ 07101-1270


Ascentium Capital LLC Dept #3059
POB 11407
Birmingham, AL 35246-3059


CFT Clear Finance Technology Corp.
1200-33 Yonge Street
Toronto, Ontario, M5E1G4


Comptroller of Maryland
Compliance Division, Room 409
301 W. Preston St.
Baltimore, MD 21201


Creative Co-op, Inc.
P.O. Box 751500
Memphis, TN 38175


Desirepath Mississippi, LLC
DBA Curio
629 Ninth Street SE
Minneapolis, MN 55414


Faultless DBA Trapp Candles
1009 W. 8th St.
Kansas City, MO 64101


Forward Financing
53 State St., 20th Floor
Boston, MA 02109


Fundbox
5760 Legacy Drive
Suite B3-535
Plano, TX 75024


GFE Holdings
32 Leveroni Court
Novato, CA 94949
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Illume
PO Box 74008740
Chicago, IL 60674-8740


Internal Revenue Service
Centralized Insolvency
31 Hopkins Place, Room 1150
Baltimore, MD 21201


Intuit Financing Inc.
2700 Coast Avenue
Mountain View, CA 94043


Jennifer D. Waldon
2800 Hambleton Road
Riva, MD 21140


Jennifer D. Waldon
2800 Hambleton Road
Riva
MD 21140


Jennifer Waldon
2800 Hambleton Road
Riva, MD 21140


K Hall Studios
Accounting Department
715 Hanley Industrial Court
Saint Louis, MO 63144


LAFCO NY
23 E. 4th St., 7th Floor
New York, NY 10003


Maison Berger
Lampe Berger USA, Inc
168 Fifth Avenue, Suite #301
New York, NY 10010


Michael S. Waldon
2800 Hambleton Road
Riva
MD 21140


Michael Waldon
2800 Hambleton Road
Riva, MD 21140


NEST Fragrances
477 Madison Ave, 24th Floor
New York, NY 10022
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Nest New York LLC
PO Box 411008
Boston, MA 02241-1008


ODK Capital, LLC
c/o Aubrey Thrasher, LLC
12 Powder Springs Street, Suite 240
Marietta, GA 30064


ODK Capital, LLC
Suite 200
4700 W. Daybreak Parkway
South Jordan, UT 84009


Ouiby, Inc. dba Kickfurther
24th Floor
Seneca 1 Tower
Buffalo, NY 14202


Paypal Capital
c/o Weltman, Weinberg & Reis, Co.
5000 Bradenton Avenue, Suite 100
Dublin, OH 43017


Quickbooks Capital
c/o Executive Financial Enterprises, Inc
1465 Tamarind Ave, Box 680
Los Angeles, CA 90028


Ravi and Heidi Waldon
1641 Eton Way
Annapolis, MD 21401


Square Financial Services, Inc.
31 East Millrock Drive
Suite 160
Salt Lake City, UT 84121


The Receivable Management Services, LLC
P.O. Box 19646
Minneapolis, MN 55419


Truist Bank
c/o Duane Clark, Officer, Asset Manager
7455 Chancellor Drive
Orlando, FL 32809


UPS
c/o Executive Financial Enterprises, Inc
1465 Tamarind Ave, Box 680
Hollywood, CA 90028
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Weltman, Weinberg & Reis Co., LPA
5000 Bradenton Avenue, Suite 100
Dublin, OH 43017
                         Case 23-15289
     B2030 (Form 2030) (12/15)                                  Doc 1        Filed 07/28/23              Page 52 of 54


                                      United States Bankruptcy Court
                                                                  District of Maryland
                                               __________________________________
     In re Waldon Enterprises, LLC
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         15,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         400.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
All matters in the main case, including representation of the Debtor at the Initial Debtor Interview, 341 Meeting of Creditors, Status Conferences,
Confirmation Hearings, etc.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Adversary Proceedings and U.S. Trustee Audits.
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                                      CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceeding.

  07/28/2023                       /s/ Alon Nager, 28551
_____________________             _________________________________________
Date                                     Signature of Attorney
                                   Nager Law Group, LLC
                                  _________________________________________
                                      ​Name of law firm
                                   10015 Old Columbia Road
                                   STE B215
                                   Columbia, MD 21046
